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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              WESTERN                                                 DISTRICT OF                                      NEW YORK


                    DOUGLAS J. HORN, et al.
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
             MEDICAL MARIJUANA INC., et al.                                                                            Case Number: 15-CV-701 JWF

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 JONATHAN FELDMAN                                                  Jeffrey Benjamin, Esq.                                    Roy Mura, Esq., Jean Claude Mazzola, Esq.
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 01/18/2022
 PLF.      DEF.         DATE
 NO.       NO.        OFFERED
                                       MARKED ADMITTED              EXHIBITS:                            DESCRIPTION OF EXHIBITS* AND WITNESSES

   1                                                                High Times Magazine Article Page 42

   2                                                                YouTube Video with Transcript: https://youtu.be/Urlwtw_xQ48;

   3                                                                YouTube Video with Transcript: https://youtu.be/yDjIGXS58ds;

   4                                                                FAQs by dixiex.com

   5                                                                MMI Article (Sep. 5, 2012)

   6                                                                Packing Slips, Invoices, Receipts for Product

   7                                                                Bottles (Actual)

   8                                                                Clinical Reference Laboratory test results

   9                                                                Exhibit 427 - Email

  10                                                                Enterprise 401k Statements

  11                                                                Defendants' Certificates of Analysis

  12                                                                Affidavit of Chuck Smith

  13                                                                Affidavit of Michelle Sides

  14                                                                Affidavit of Stuart Titus

  15                                                                Tables of Dr. Mark Zaporowski

  16                                                                EMSL Report

  17                                                                EMSL Emails to Plaintiff

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* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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